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                                                            TIIE HONORABLE RICHARD A. JONES
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                                    UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
                                             AT SEATTLE
 8
 9   BLACK LIV ES MATTERSEATl'LE-                        No. 2:20-cv-00887-RAJ
     KING COUNTY, ABIE EKENEZAR,
10   SHARON SAKAMOTO, MURACO                             DECLARATION OF CORINNE ARNOLD
     KYASI-INA-TOCHA, ALEXANDER                          IN SUPPORT OF PLAINTIFFS' MOTION
11   WOLDEAB, NATHALIE GRAHAM,                           FOR CONTEMPT
     AND ALEXANDRA CHEN,
12
                               Plaintiffs,
13
               V.
14
     CITY OF SEATTLE,
IS
                               Defendant.
16

17
               I, Corinne Arnold, declare and state as follows:
18
19   I . The information contained in this declaration is true and correct to the best of my knowledge,
20
          and I am of majority age and competent to testify about the matters set forth herein.
21
22   2. I am 31 years old and am an artist. I have lived in the Seaule Metropolitan area my entire

23        life. I currently live in Capitol Hil l.

24   3. I have attended several Black Lives Matter protests since the end of May.
25
26

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                                                                                 Perkins Coie LLP
      CONTEMPT (No. 2:20-cv-00887-RAJ) - 1
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     4. On July 25, 2020, I turned on livestreams of the day's protests while at work. I was upset by
 2
          the level of force the Seattle Police Department ("SPD") seemed to be using. When I got
 3
          home from work, my partner and I decided it was important that we show support for the
 4
          protest, so we walked down to 11th and Pine to join protesters. We arrived about 7 p.m.
 5
 6   5. We were about 30 feet behind the intersection. It appeared as if there was a line between

 7        protesters and Police and for the first 25 minutes or so both SPD and protesters seemed to

 8       stay on their side of the line. At no time did l observe protesters throw anything, cross the
 9       line, or do anyth ing other than chant and shout at SPD officers.
I0
     6. At about 7:25 p.m., we saw some protesters at the front start running toward us and saw that
11
         SPD had begun to advance in a line toward where we were standing. As we began to back
12
         up, we heard what sounded like blast balls going off every few seconds. Several came within
13

14       about ten feet ofus. I saw the blast balls exploding in the air. It quickly became clear that

15       the blast balls were filled with some sort of gas which filled the air around us.

16   7. There was no order from SPD to disperse. There was no warning that they were going to
17
         begin to advance. There was no warning that they were going to use blast balls or gas. Their
18
         actions came as a complete surprise.
19
     8. l saw no provocation whatsoever. I saw no one do anything to physically threaten any
20
         police officers or property. The blast balls were thrown indiscriminately into the
21

22       crowd.

23   9. We were both coughing hard and having trouble breathing, so we ducked down I 0111 Street
24       and away from the advancing SPD line and the rest of the protesters. We walked home, but
25
         at about 8:30 p.m., I went back down to the protest, this time with my brother, Colter Arnold,
26
       and his girlfriend Tanna.
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     I0. I had some swim goggles that I use for lap swimming and brought them with me, as I heard
 2
         that they can protect from gas and spray. I also borrowed my partner's bike helmet.
 3
     11. Once we arrived at the protest, the police line had retreated back to a where it was earlier in
 4
         the day. We assumed a simi lar posi tion to where I had been standing during the first incident,
 5
 6
         about 30 feet from the police line on the same side of the street. The atmosphere seemed

 7       simi lar among the protesters as it had been earlier in the day. There was chanting and some

 8       protest songs. I did not witness anyone throwing anything or any kind of physical
 9       provocation.
10
     12. At about 9 p.m. I saw officers rushing the crowd from behind the police line. I scrambled lo
lI
         put on the swim goggles. I was otherwise unprotected and had a t-shirt on, as ii was a hot
12
         day.
13

14   l 3. I could see people falling, and the police were hitting them with batons and mace as the

15       police quickly advanced. Police were chasing people, and spraying people with mace, and
16       hitting them with batons as they ran away. The people being hit were not threats-they
17
         were trying to escape.
18
     14. I saw one person get hit with a baton when they tried to help a fallen individual up. That
19
         person getting hit fled and dragged the fallen individual to safety with them.
20
         Another policeman ran adjacent to them continually spraying them directly in the face
21

22       as they ran away dragging the fallen person.

23   IS. I s aw a different person running toward me get hit with a baton and fall to the ground.

24       I s aw my brother lunge forward to assist the person who had fa llen. At that point,
25
         police sprayed my brother in the face with mace. The person on the ground was lying
26
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          on the pavement in tbc fetal position, and an otlicer was drenching him with mace as he
 2
          lay on the ground.
 3
     16. I stepped forward to try and help the fallen person and was crying for the officers to
 4
          "STOP." I was sprayed in the face. I think I turned away but didn't want to leave the fallen
 5
 6        person because they needed help, so I tried to stand my ground. I had no weapons, l didn't

 7        th row anything, hurt anyone, or destroy anything. But I was still pepper sprayed

 8        simply for trying to help someone who had fallen on the ground.
 9   17. Someone ca.me in from the side and began helping the fallen person to safety. As they
10
          scrambled away, I got my bearings and I stood over them and tried to insinuate myself
II
          between them and the police whi le the ofltcer drenched me with mace. I was carrying a
12
          cardboard protest sign and used it to try to shield myself and others from the spray.
13

14   18. At that point the police pushed me from behind. I fell on the fallen protester and people

15        trying to help them up. After I fell, the Police continued to spray me with pepper spray.

16   19. I stood up and yelled at the police who had sprayed and pushed me. I said, "What the fuck is
17
          wrong with you?" I took my goggles off so that I could see, as the goggles were covered iQ
18
          mace. They readied to attack us again. A medic came and stood in front of us, at which point
19
          the police formed a line. This incident is captured in a video that was posted on Twitter. It
20
          can be found at hltps://twitter.com/daeshikjr/status/ l 287288994057732098?s=20.
21

22   20. My shirt and undergarments were soaked with mace. I could feel mace dripping out of rny

23        hair and down my neck. A Black community elder came to the front where I was standing
24        and told us to hold our ground and not be afraid. So, I chose to stay where I was standing in
25
          front of the new police line. There was perhaps five feet between the police and us.
26
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      21 . My brother's girlfriend, Tanna, was standing beside me. She was worried for my brother and
 2
           told me that she was going to go find him. She handed me her umbrella for protection.
 '
 .)

      22. I saw that the officer in front of me was not wearing a mask. I was furious that he would have
 4
           so little regard for the safety of people who may get sick. I told him multiple times to put a
 5
           mask on. He looked at me but d id not put hi s mask on or say anything.
 6
 7    23. There was another officer who had no identifying badge number or name. I asked him for

 8         his name. He pointed to a white sticker on his chest. It was the type of l /4in x l in sticker that
 9         you use to label a fi le fo lder and it was wr.itten on in pencil. I told him that I couldn't read it
IO
           from that distance (I'm nearsighted) and I needed him to tell me his name. He just pointed at
11
           the sticker again.
12
      24. At this point the mace dripping from my hair and bike helmet dripped into my eyes. It
13

14         became difficult to see.

15    25. Tanna came back and told me that she had found my brother and that he was being treated by

16         a medic. She asked if I was okay. I said that I d idn't want to leave the line. She offered to
17
           take my place, so l gave her the umbrella.
18
      26. I began walking away from the front but quickly realized I was complete ly blind and
19
           helpless. I called out to the crowd and asked if anyone could escort me to a medic station. I
20
           asked a second time at which point a group of medics approached me and offered me
21

22         assistance, rinsing my eyes out. The rinsing was extremely painful.

23    27. Someone sprayed something on my face that neutralized the mace and it helped a lot, but my
24         clothes, hair, and arms were completely soaked and my whole upper body was burning.
25
           Shortly after being treated by the medics I began shivering uncontrollably and my teeth were
26
         rattling. I did not feel cold and was fearfu l because I was surprised by the response my body
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          was having. I had carried bear mace before on hikes and thought about how terrible I
 2
          would feel if I had ever used it on a wild animal.
 3
     28. I walked home, which is a mile from the precinct. It was extremely uncomfortable but
 4
          tolerable. When I got home, my dogs tried to greet me, but I was afraid to touch them
 5

 6        because I didn't want them to be affected by the mace. I was shaken and wanted to cuddle

 7        with my dogs and hug my partner but had to tell my partner to restrain the animals and stay

 8        away from me. I took a photo of my back taken after I got home showing what appears to be
 9        a bad sunburn but is actually a result of the mace. A true and correct copy of that photo is
10
          attached hereto as Exhibit A.
II
     29. I then took a long cold shower. The shower was more painful than any other kind of physical
12
          trauma I have experienced, incl uding broken bones and third-degree burns. Though the
13

14        shower was cold, it felt like I was being drenched with boiling water. The pain was the

15        worst on my neck, ears and arms-where the spray had direct contact with my skin-

16        but was also pres ent on my back, legs, feet, chest, stomach, armpits, and genitals.
17
     30. Throughout the night I woke up because of pain in my hands and ears. The next day I put
18
          my feet in the water during a lunch break, and the mace was reactivated, and my feet
19
          began bu rning. I have not taken another shower since that evening and I am afraid to
20
         shower again lest there be any remaining mace in my hair or on my skin.
21

22   3 1. This was an extremely disturbing experience for me. Aside from my own treatmen t at the

23       hands of the City, I am even more outraged by the direct harm done to my unaimed
24        immediate family and neighbors by people who take my tax money and are too cowardly to
25
         even tell me their names. In processing this event, I have occasionally become tearful and
26
         have accidcntly gotten residue from the mace in my eyes, causing the physical trauma
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           to start all over again. This is unfit treatment for even the worst cri minals in our society and
 2
           it seems lo be reserved for Black and indigenous people and those standing up for Black and
 3
           indigenous issues like Black Lives Malter and No DA PL. I plan to continue protesting it.
 4

 5
 6

 7              Executed this 27 th day of Ju ly 2020 at Seattle, Washington
 8              I declare under penalty of perjury under the laws of the United States and the State of
 9   ·wash ington that the foregoing is true and correct.
IO
11                                                                       B:
12                                                                       CORINNE A
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           EXHIBIT A
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